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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

N. Neville Reid
                               Plaintiff,
v.                                                   Case No.: 1:19−cv−01978
                                                     Honorable John J. Tharp Jr.
Michael Wolf, et al.
                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, April 18, 2024:


        MINUTE entry before the Honorable John J. Tharp, Jr:Status hearing held. The
Trustee's Citation to Discover Assets video hearing is set for 5/14/24 at 10:00 a.m. (CDT).
Plaintiff to send the Citation, and video hearing instructions, to Mr. Wolf by overnight
express to address indicated on the record. Mr. Wolf is required to produce the required
documents to the Trustee by 5/6/24 if sent by overnight or by 5/3/24 (post−marked) if sent
by U.S. Mail. Mailed notice(air, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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